15-11650-jlg       Doc 37      Filed 07/12/18        Entered 07/12/18 13:55:15    Main Document
                                                    Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 In re:
                                                                     Bankruptcy Case No. 15-11650
 Amir Orly                                                           (JLG)

                                    Debtor.

 ALFREDO MORENO COCOLETZI, EDGAR
 MONTEROSO GILBERTO DARIO RAMIREZ                                    Adversary Proceeding No. 16-
 RAMOS, GERMAN TORRES ROMERO, and                                    01020 (JLG)
 CRISTIAN FREDY VILLAR MEDINA.
                                                                     DECLARATION OF JOSHUA S.
                                    Plaintiffs,                      ANDROPHY LIMITED
                                                                     OPPOSITION TO LINDA
                           -against-                                 TIRELLI’S MOTION TO
                                                                     WITHDRAW AS ATTORNEY
 AMIR ORLY,                                                          OF RECORD

                                    Defendant.

 ----------------------------------------------------------------X

        I, JOSHUA S. ANDROPHY, declare under penalty of perjury, pursuant to 28 U.S.C.

§1746, that:

        1.       I am one of the attorneys representing the Plaintiffs in this adversary proceeding. I

submit this declaration as a limited opposition to debtor Amir Orly’s attorney, Linda Tirelli’s,

motion to withdraw as his attorney.

        2.       Plaintiffs do not oppose Ms. Tirelli’s withdrawal, as long as she provides the most

up-to-date contact information she possesses for Orly. I understand from her motion that she does

not have a physical address for Orly and cannot confirm his phone number, and that her most

recent communications with him have been through email. (Dkt. No. 36 ¶10) In such case, we

ask that Ms. Tirelli provide Orly’s e-mail address as a condition to her being granted leave to

withdraw as his attorney. We further respectfully request that the Court order that service of any
15-11650-jlg     Doc 37     Filed 07/12/18     Entered 07/12/18 13:55:15        Main Document
                                              Pg 2 of 2



pleading or other document in this action by email to the address Ms. Tirelli provides be deemed

effective service, until Orly provided an accurate physical address.

         3.    The reason why Plaintiffs need Orly’s email address and to be permitted to serve

papers relating to the action to such email address is that Plaintiffs must have some means of

serving Orly wish case papers. Currently, Plaintiffs are able to accomplish that by serving his

attorney Ms. Tirelli. If we do not receive Orly’s email address, Plaintiffs will have no way to serve

Orly and provide him with notice of future Court proceedings. Orly is entitled to receive copies

of any court papers and any future proceedings in the action. While Orly provided a physical

address when he filed his bankruptcy petition, mail to that address recently sent in connection with

Plaintiffs’ district court action against him has been returned as undeliverable. A true and correct

copy of a returned envelope is annexed as Exhibit A. Mailing court papers to that address would

be unlikely to provide Orly with actual notice of any filings or court deadlines.

         4.    I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Dated:         New York, New York
               July 12, 2018




                                              /s/Joshua S. Androphy
                                              Joshua S. Androphy




                                                 2
